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 7 Attorneys for Plaintiff
   United States of America
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 9
                                 IN THE UNITED STATES DISTRICT COURT
10
                                    EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                          CASE NO. 2:08-CR-00449 WBS
13                                Plaintiff,            AMENDED STIPULATION AND [PROPOSED]
                                                        ORDER REGARDING BRIEFING SCHEDULE ON
14                          v.                          DEFENDANT’S POST-TRIAL MOTIONS AND
                                                        SENTENCING DATE
15   TIEN THE LE,
16                               Defendant.
17

18                                              STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20 through defendant’s counsel of record, stipulate and agree that the briefing schedule and sentencing date
21 should be reset. This stipulation refers to defendant’s Motion to Vacate the Jury Verdict and Judgment

22 of Acquittal (Docket Entry No. 215) and Motion for New Trial (Docket Entry No. 216), as well his date

23 for Judgment and Sentencing on October 15, 2013. The parties, after consultation with the Court’s

24 Deputy Clerk, respectfully request the following schedule:

25                         Government’s Oppositions:            December 16, 2013
26                         Defendant’s Reply Briefs:            December 23, 2013
27                         Hearing on Motions and J&S:          January 13, 2014, at 9:30 a.m.
28

      STIPULATION AND [PROPOSED] ORDER
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             Case 2:08-cr-00449-WBS Document 257 Filed 10/16/13 Page 2 of 3


 1          The government has been working diligently to complete briefing on defendant’s pending

 2 motions and sentencing objections. In addition, defendant’s counsel will be engaged in a significant,

 3 complex jury trial before Judge Mueller beginning in the middle of October. It is expected to last for a

 4 number of weeks. Both parties request additional time to properly brief the pending motion and prepare

 5 for sentencing in this case.

 6          IT IS SO STIPULATED.

 7
                                                            BENJAMIN B. WAGNER
 8                                                          United States Attorney
 9 Dated: October 10, 2013
                                                            /s/ JASON HITT
10                                                          JASON HITT
                                                            Assistant United States Attorney
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12

13 Dated: October 10, 2013                                  /s/ JAMES R. GREINER, Esq.
                                                            JAMES R. GREINER, Esq.
14                                                          Counsel for Defendant, authorized to sign for Mr.
                                                            Greiner on October 10, 2013
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      STIPULATION AND [PROPOSED] ORDER
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            Case 2:08-cr-00449-WBS Document 257 Filed 10/16/13 Page 3 of 3


 1                                                 ORDER

 2        Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:

 3         1.     The briefing schedule on defendant’s Motion to Vacate the Jury Verdict and Judgment

 4                of Acquittal (Docket Entry No. 215) and Motion for New Trial (Docket Entry No. 216),

 5                is revised as follows:

 6                              Government’s Oppositions:             December 16, 2013

 7                              Defendant’s Reply Briefs:             December 23, 2013

 8                              Hearing on Motions and J&S:           January 13, 2014, at 9:30 a.m.

 9           2.   Defendant’s date for Judgment and Sentencing is reset for January 13, 2014, at 9:30 a.m.

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11         IT IS SO ORDERED.

12   Dated: October 15, 2013
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